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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                            CASE NO. 6:23-CR-00088-01

 VERSUS                                              JUDGE DAVID C. JOSEPH

 LYNOL CHRISTIAN (01)                                MAGISTRATE JUDGE DAVID J. AYO

                                   MINUTES OF COURT:
                                       SENTENCING
  Date:               Jan. 17, 2024 Presiding: Judge David C. Joseph
  Court Opened:       2:20 PM       Courtroom Deputy:       Lisa LaCombe
  Court Adjourned:    2:38 PM       Court Reporter:         Cathleen Marquardt
  Statistical Time:   18 Minutes    Courtroom:              Courtroom 1
                                    Probation Officer:      Jill Wilson

                                       APPEARANCES
  Daniel McCoy (AUSA)                        For   United States of America
  Jasmine Green (AFPD)                       For   Lynol Christian (01), Defendant
  Lynol Christian (01)                             Defendant (Released)

                                       PROCEEDINGS

 Case called for Sentencing.
 Defendant sworn and under oath.

 SENTENCING:
 Count 1: Defendant is committed to the Bureau of Prisons for 156 months. Upon
 release from imprisonment, Defendant shall be on supervised release for 4 years, with
 standard, mandatory and the following special conditions:


    a. Defendant shall participate in an outpatient substance abuse treatment program under the
       guidance of the U.S. Probation Office and shall follow the rules and regulations of that
       program. Defendant shall submit to drug testing as directed by the treatment facility and
       Probation Officer during the term of supervision. Defendant shall contribute to the cost
       of the treatment program in accordance with his ability to pay. Defendant shall also
       refrain from alcohol use while in a substance abuse treatment program.
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 Defendant ordered to pay a $100.00 special assessment, payable immediately to the U.S.
 Clerk of Court.

 No fine is ordered.

 Defendant advised of his right to appeal. Any appeal must be filed within fourteen (14) days of
 the Court’s judgment.

 Defendant remanded to the custody of the U S Marshal for service of sentence.
